(1 of 10), Page 1 of 10     Case: 24-5538, 01/23/2025, DktEntry: 41.1, Page 1 of 10




               IN THE UNITED STATES COURT OF APPEALS FOR THE NINTH
                                     CIRCUIT

             CASE NO.: 24-5538
             NEO4J, INC., et al.,
             Plaintiffs-Appellees,

             v.

             JOHN MARK SUHY,
             Defendant-Appellant.



             OPPOSITION TO APPELLEES’ MOTION TO SEAL PORTIONS
             OF VOLUMES 10 AND 11

             Defendant-Appellant John Mark Suhy ("Appellant") respectfully

             submits this opposition to Plaintiffs-Appellees Neo4j, Inc. and Neo4j

             Sweden AB’s (collectively “Appellees”) motion to seal portions of

             Volumes 10 and 11 of the Excerpts of Record. Appellant opposes the

             sealing of the following portions:


                  •   Page 2198 of Volume 10;

                  •   Pages 2358-2364 of Volume 10;

                  •   Pages 2371-2374 of Volume 10; and

                  •   Page 2430 of Volume 11.




                                                      1
(2 of 10), Page 2 of 10   Case: 24-5538, 01/23/2025, DktEntry: 41.1, Page 2 of 10




               I.   INTRODUCTION


             Appellees have failed to meet their burden under the Ninth Circuit's

             standard for sealing judicial records. As set forth in Kamakana v. City

             & County of Honolulu, 447 F.3d 1172, 1178-79 (9th Cir. 2006), there is a

             “strong presumption in favor of access” particularly where the

             documents at issue are part of a dispositive motion. Appellees must

             demonstrate compelling reasons for sealing that outweigh the public's

             interest in transparency and the party’s right to present their case. For

             the reasons stated below, Appellees’ motion to seal the specified

             portions of Volumes 10 and 11 should be denied.


              II.   ARGUMENT

             A. Appellees Fail to Establish Compelling Reasons to Seal Page

                 2198 of Volume 10


             Page 2198 is part of Appellees’ Consolidated Notice of Motion and

             Motion for Summary Judgment, which is central to this case and the

             public’s understanding of the issues at hand. Under Kamakana, judicial

             records attached to dispositive motions may only be sealed for

             compelling reasons, and embarrassment or harm to reputation does not


                                                    2
(3 of 10), Page 3 of 10   Case: 24-5538, 01/23/2025, DktEntry: 41.1, Page 3 of 10




             suffice. Kamakana clearly states: "The mere fact that the production of

             records may lead to a litigant’s embarrassment, incrimination, or

             exposure to further litigation will not, without more, compel the court to

             seal its records." 447 F.3d at 1179.


             The content of Page 2198 discusses licensing practices, government

             procurement, and Appellant’s interactions with Appellees. This

             information is critical to assessing the legal and factual issues in this

             case, including allegations of breach of agreement and Appellees’

             licensing strategies. Transparency is necessary to ensure accountability

             and public trust, particularly when the case involves business dealings

             that could impact government contracts and public funds. Appellees’

             claims of competitive harm are unsubstantiated and do not meet the

             high burden required for sealing.


             B. Emails Involving Appellant (Pages 2358-2364 and 2371-2374 of

                 Volume 10) Should Not Be Sealed


             Appellees seek to seal email communications that were sent to or from

             Appellant, including pages 2358-2364 and 2371-2374. These

             communications cannot reasonably be considered confidential or


                                                    3
(4 of 10), Page 4 of 10     Case: 24-5538, 01/23/2025, DktEntry: 41.1, Page 4 of 10




             proprietary because they were voluntarily shared with Appellant, a

             third party.


             As the Fourth Circuit held in Rushford, and as cited by the Ninth

             Circuit in Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1136

             (9th Cir. 2003), "once the [sealed discovery] documents are made part of

             a dispositive motion [e.g., a summary judgment motion ruled upon by

             the court] . . . they lose their status of being raw fruits of discovery."

             Furthermore, Foltz emphasizes that when materials are disclosed to

             opposing parties, the rationale for continued sealing diminishes

             significantly. Here, Appellant’s possession of these emails negates any

             claim of confidentiality or risk of competitive harm. Moreover, the

             emails are directly relevant to Appellant’s defense and broader

             allegations of Appellees’ anticompetitive practices.


             C. Page 2430 of Volume 11 Highlights Internal Discussions

                 Relevant to Context and Broader Issues and Should Not Be

                 Sealed


             Page 2430 contains an internal email exchange between Neo4j

             employees discussing licensing strategies, government use of open-


                                                      4
(5 of 10), Page 5 of 10   Case: 24-5538, 01/23/2025, DktEntry: 41.1, Page 5 of 10




             source software, and the role of Appellant’s business offerings. While

             Appellees argue this email is confidential, its relevance extends beyond

             actionable antitrust claims and provides important context for

             understanding Appellees’ business practices.


             Although the date of the email may place it outside the statute of

             limitations for antitrust claims, its content demonstrates patterns in

             Appellees’ licensing strategies and competitive behavior. In particular,

             the email sheds light on Neo4j’s approach to leveraging open-source

             licensing ambiguities and its strategy to position its licensing model in

             government procurement. The timing of this discussion also coincides

             with Neo4j’s addition of the Commons Clause to its licensing, which

             significantly limited the open-source nature of its software.


             This email could support allegations that Neo4j sought to misrepresent

             or manipulate its licensing to mislead government entities, which is

             directly relevant to public interest. Courts recognize the importance of

             such contextual evidence in shedding light on litigants’ motivations and

             tactics. As stated in In re Elec. Arts, Inc., 298 F. App’x 568, 569 (9th Cir.

             2008), compelling reasons sufficient to justify sealing exist only for



                                                    5
(6 of 10), Page 6 of 10   Case: 24-5538, 01/23/2025, DktEntry: 41.1, Page 6 of 10




             information that constitutes "trade secrets" or "sources of business

             information that might harm a litigant’s competitive standing." The

             discussion in Page 2430 does not meet this threshold but instead

             provides insight into business practices that are directly relevant to this

             case. Allowing this document to remain sealed would hinder

             transparency and accountability in the judicial process.


             D. Appellees’ Claim of “False and Defamatory” Statements in

                 Pages 2371-2374 Undermines Their Sealing Argument


             Appellees assert that pages 2371-2374 contain “false and defamatory”

             statements by Appellant that, if disclosed, would harm Neo4j’s

             reputation and business standing. This assertion highlights an

             improper motive for sealing: shielding Appellees from embarrassment

             or reputational harm. Under Kamakana, reputational concerns alone do

             not meet the compelling reasons standard for sealing judicial records.

             The court in Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978),

             stated: "[A]ccess has been denied where court files might have become a

             vehicle for improper purposes.” The Court provided examples, such as

             ensuring records are not used " to gratify private spite or promote



                                                    6
(7 of 10), Page 7 of 10    Case: 24-5538, 01/23/2025, DktEntry: 41.1, Page 7 of 10




             public scandal," referencing In re Caswell. However, reputational harm

             alone does not outweigh the public’s right to access.


             Additionally, by labeling these statements as “false and defamatory”

             without substantiating the claim in the original case, Appellees invite

             the Court to suppress contested allegations rather than subject them to

             public scrutiny. Kamakana further warns against using sealing to avoid

             unfavorable optics, emphasizing that the standard for sealing must be

             based on articulated and specific harms.


             If Neo4j believes the statements are defamatory, it has remedies

             outside of sealing to address that issue, such as litigating defamation

             claims on the merits. Sealing these emails would preclude the public

             and the Court from evaluating their content, which is central to this

             case and Appellant’s defense. Furthermore, the emails provide critical

             insight into Neo4j’s interactions with its customers and licensing

             practices, both of which are directly relevant to allegations of

             misconduct.


             E. V. The Public’s Right to Access Judicial Records Outweighs

                 Appellees’ Confidentiality Concerns


                                                     7
(8 of 10), Page 8 of 10   Case: 24-5538, 01/23/2025, DktEntry: 41.1, Page 8 of 10




             The public has a strong interest in accessing judicial records,

             particularly in cases involving business practices with potential public

             impact. As noted in Kamakana, 447 F.3d at 1178-79, the presumption of

             public access is particularly strong for records filed in connection with

             dispositive motions. Appellees’ generalized assertions of competitive

             harm are insufficient to overcome this presumption.


             Moreover, as this case involves allegations of Appellees’ misuse of

             licensing agreements and interactions with government entities, the

             public interest in transparency is heightened. Denying access to these

             documents would undermine public trust in the judicial process and

             shield potentially questionable business practices from scrutiny. Nixon,

             435 U.S. at 598, further supports this principle, noting that "the

             common-law right of inspection has bowed before the power of a court to

             insure that its records are not used to gratify private spite or promote

             public scandal." Neo4j’s attempts to seal these records appear to be

             motivated more by reputational concerns than by legitimate competitive

             harm.


             III.   CONCLUSION



                                                    8
(9 of 10), Page 9 of 10   Case: 24-5538, 01/23/2025, DktEntry: 41.1, Page 9 of 10




             For the foregoing reasons, Appellant respectfully requests that the

             Court deny Appellees’ motion to seal the specified portions of Volumes

             10 and 11.




             Respectfully submitted,


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                                                    9
(10 of 10), Page 10 of 10   Case: 24-5538, 01/23/2025, DktEntry: 41.1, Page 10 of 10




                                    CERTIFICATE OF SERVICE

             I, John Mark Suhy Jr, hereby certify that on this January 23, 2025, I

             electronically filed the foregoing motion, exhibit, and declaration with
             the United States

             Court of Appeals for the Ninth Circuit by using the appellate CM/ECF

             system.

             I further certify that all participants in the case are registered CM/ECF

             users and that service will be accomplished by the appellate CM/ECF

             system.

             /s/ John Mark Suhy Jr

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                                                      10
